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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 UNITED STATES OF AMERICA,                       §
   Plaintiff,                                    §
                                                 §                   CRIMINAL ACTION NO:
 v.                                              §                           3:19-CR-631-B
                                                 §
 DAVID CADENA,                                   §
   Defendant.                                    §


         ORDER GRANTING DEFENDANT’S MOTION FOR CONTINUANCE

        Defendant DAVID CADENA, through counsel, has filed an Unopposed Motion for
Continuance of Trial and Pretrial Deadlines (doc. 17). Said motion, in accordance with the
findings set forth below, on this December 30, 2019, is GRANTED.

        In accordance with 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), the Court finds that the ends
of justice served by granting this motion for continuance outweigh the best interest of the public
and the defendant in a speedy trial. In this regard, the Court has considered factors which indicate
that its failure to grant this motion would deny counsel for defendant reasonable time necessary
for effective preparation, taking into account the exercise of due diligence. Therefore, any period
of delay resulting from this Court's granting the motion for continuance shall be excluded in
computing the time within which the trial of this cause must commence under 18 U.S.C. § 3161.

        Accordingly, it is ORDERED that the captioned case is set for trial on April 20, 2020 at
9:00 a.m. Pretrial motions, if any, are due March 9, 2020, and responses thereto are due March
23, 2020. Pretrial materials are due April 6, 2020. The pretrial conference will be set for April 17,
2020 at 10:00 a.m.

        SO ORDERED.

        SIGNED: December 30, 2019.




                                              JANE J. BOYLE
                                              UNITED STATES DISTRICT JUDGE
